                                                                        Case 3:23-cv-03880-TLT Document 7-2 Filed 08/09/23 Page 1 of 3




                                                             1
                                                                  Scott J. Street (SBN 258962)
                                                                  JW HOWARD/ATTORNEYS, LTD.
                                                             2    201 South Lake Avenue, Suite 303
                                                             3    Pasadena, CA 91101
                                                                  Tel.: (213) 205-2800
                                                             4    Email: sstreet@jwhowardattorneys.com
                                                             5    John W. Howard (SBN 80200)
                                                                  Andrew G. Nagurney (SBN 301894)
                                                             6
                                                                  JW HOWARD/ATTORNEYS, LTD.
                                                             7    600 West Broadway, Suite 1400
                                                                  San Diego, CA 92101
                                                             8
                                                                  Tel.: (619) 234-2842
                                                             9    Email: johnh@jwhowardattorneys.com
                                                             10
                                                                  Attorneys for Plaintiff,
                                                             11   ROBERT F. KENNEDY, JR.
JW HOWARD/ ATTORNEYS, LTD.
                             600 WEST BROADWAY, SUITE 1400




                                                             12
                              SAN DIEGO, CALIFORNIA 92101




                                                             13                             UNITED STATES DISTRICT COURT
                                                             14                       NORTHERN DISTRICT OF CALIFORNIA
                                                             15

                                                             16   ROBERT F. KENNEDY, JR.,                       Case No. 5:23-cv-03880-NC
                                                             17                Plaintiff,                       [Assigned to the Honorable Nathanael
                                                                                                                Cousins]
                                                             18          vs.
                                                                                                                DECLARATION OF ROBERT F.
                                                             19   GOOGLE LLC, a Delaware                        KENNEDY, JR.
                                                                  corporation, and YOUTUBE, LLC, a
                                                             20   Delaware corporation,
                                                             21                Defendants.
                                                             22
                                                                  ///
                                                             23
                                                                  ///
                                                             24
                                                                  ///
                                                             25
                                                                  ///
                                                             26
                                                                  ///
                                                             27
                                                                  ///
                                                             28                                             1
                                                                    DECLARATION OF ROBERT F. KENNEDY, JR.                           CASE NO. 5:23-cv-03880-NC
                                                                       Case 3:23-cv-03880-TLT Document 7-2 Filed 08/09/23 Page 2 of 3




                                                             1                    DECLARATION OF ROBERT F. KENNEDY, JR.
                                                             2          I, Robert F. Kennedy, Jr. declare as follows:
                                                             3          1.     I am the plaintiff in this matter, a member of the Democratic Party and a
                                                             4    candidate for President of the United States. I have personal knowledge of the facts set
                                                             5    forth in this declaration and could testify competently to them if called to do so.
                                                             6          2.     I am submitting this declaration in support of my application for a
                                                             7    temporary restraining order or, in the alternative, an order to show cause regarding the
                                                             8    issuance of a preliminary injunction, prohibiting Defendants Google LLC and
                                                             9    YouTube, LLC, from using its COVID-19 and vaccine misinformation policies to
                                                             10   censor videos of me speaking on matters of public concern during my campaign.
                                                             11         3.     I have spoken regularly about the safety and efficacy of vaccines over the
JW HOWARD/ ATTORNEYS, LTD.
                             600 WEST BROADWAY, SUITE 1400




                                                             12   past decade. Videos of my comments were often posted on YouTube. To my
                              SAN DIEGO, CALIFORNIA 92101




                                                             13   knowledge, none of those videos were removed from YouTube until the COVID-19
                                                             14   pandemic. Indeed, to my knowledge, I was not censored on YouTube until 2021, after
                                                             15   Joe Biden took office and after Google adopted a new policy, dubbed the “vaccine
                                                             16   misinformation policy.” That is the policy that Google has cited most frequently
                                                             17   during the past two years when removing videos of my speech on matters of public
                                                             18   concern.
                                                             19         4.     Facebook and Twitter stopped censoring me after I declared my
                                                             20   presidential candidacy. Google did not. Although Google does not censor all videos of
                                                             21   me, it has removed several high-profile speeches and interviews I gave, including my
                                                             22   pre-announcement speech at the New Hampshire Institute of Politics and interviews I
                                                             23   gave to Joe Rogan and Jordan Peterson.
                                                             24         5.     Google’s actions have created a chilling effect surrounding my campaign.
                                                             25   I often hear from people who say they posted a video of me speaking that Google then
                                                             26   removed from YouTube. Although some wear that as a badge of honor, others say that
                                                             27   Google’s actions have deterred them from posting other content related to me.
                                                             28                                             2
                                                                   DECLARATION OF ROBERT F. KENNEDY, JR.                             CASE NO. 5:23-cv-03880-NC
                                                                       Case 3:23-cv-03880-TLT Document 7-2 Filed 08/09/23 Page 3 of 3




                                                             1          6.     This censorship, and the chilling effect it creates, have created hurdles for
                                                             2    my campaign. Those hurdles would be great under ordinary circumstances, but they
                                                             3    are even greater given that I am challenging an incumbent president whose
                                                             4    administration, according to evidence gathered in other cases, targeted me
                                                             5    specifically. I believe this censorship will increase as the primaries get closer and that
                                                             6    injunctive relief is the only thing that will prevent voters from having an unfettered
                                                             7    chance to hear my views before they cast their ballots.
                                                             8          Under penalty of perjury, under the laws of the United States of America, I
                                                             9    declare that the foregoing is true and correct. Executed this 8th day of August 2023, at
                                                             10   North Sandwich, New Hampshire.                                 ./
                                                             11
JW HOWARD/ ATTORNEYS, LTD.




                                                                                                                  Y/~/:!}
                             600 WEST BROADWAY, SUITE 1400




                                                             12                                    ____________________________
                              SAN DIEGO, CALIFORNIA 92101




                                                             13                                            Robert F. Kennedy, Jr.
                                                             14

                                                             15

                                                             16

                                                             17

                                                             18
                                                             19

                                                             20

                                                             21

                                                             22

                                                             23

                                                             24

                                                             25

                                                             26
                                                             27

                                                             28                                              3
                                                                   DECLARATION OF ROBERT F. KENNEDY, JR.                              CASE NO. 5:23-cv-03880-NC
